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UNITED STATES OF AMERICA

 

Plaintiff,

cR. No. 04-20464-13 /
04»20471-0

VS.

CHARLOTTE CRAWFORD
Defendant.

 

oRDER oN cHANGE 01- PLF.A
mm SETTING

 

This cause came to be heard on August 1, 2005l the United States
Attorney for this district, Timothy R. DiScenza, appearing for the
Government and the defendant, Charlotte Crawford, appearing in person and
with counsel, Howard Brett Manis, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count l of the
Indictment,04-ZO464, and Count l of the Indictment, 04-20471.

Remaining Counts shall be dismissed at the Sentencing Hearing.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for TUESDAY, NOVEMBER 1, 2005, at
1:30 P.M., in Courtroom Nb. 3, on the 9th floor before Judge Bernice B.
Donald.

Defendant is allowed to remain released on present bond.

ENTERED this the 3 day of August, 2005.

m/W

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UNI'I'ED sTA'I'Es n:l:s'rR:cc'r JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 96 in
case 2:04-CR-20464 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

